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                                                                                 2023 Mar-30 PM 03:20
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

KAREN CARTER,                          )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )       Case No. 2:20-cv-01700-NAD
                                       )
BANKHEAD 2192 AL LLC, et al.,          )
                                       )
      Defendants.                      )

                                     ORDER
      The court, having been advised that a settlement has been reached,

DISMISSES this case WITHOUT PREJUDICE. The court retains jurisdiction

to reinstate the case if any party represents to the court on or before May 29, 2023,

that final settlement documentation could not be completed. The parties may

request additional time to file dismissal documents if necessary. If the court does

not hear from the parties by May 29, 2023, then the dismissal will convert to a

dismissal with prejudice.    All pending deadlines and settings in this case are

cancelled.

      DONE and ORDERED this March 30, 2023.



                                      _________________________________
                                      NICHOLAS A. DANELLA
                                      UNITED STATES MAGISTRATE JUDGE



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